                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                   No. CR 18-4176 JB

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR,

       Defendants.
                                    NOTICE OF LODGING

       Defendants Al-Zuni Global Jewelry, Inc., Nashat “Nash” Khalaf and Zaher Mostafa

hereby notify the Court and Plaintiff that a disk containing, which includes one (1) audio file,

Bates No. 2393 (“Canteen Purchase – Al Zuni Op.MP3”), which is the recording of the audio for

Exhibit F in Defendants’ Reply in Support of Their Joint Opposed Rule 12(b) Motion to Dismiss

Count III of the Indictment and/or for a Bill of Particulars [Doc. No.64], has been lodged with

the Court Clerk pursuant to Section 9(g)(4) of the CM/ECF Administrative Procedures Manual.

A copy of disk also has been mailed to Plaintiff’s counsel.

                                      Respectfully submitted,

                                      FREEDMAN, BOYD, HOLLANDER, GOLDBERG,
                                      URIAS & WARD, P.A.
                                      By     /s/ Nancy Hollander
                                             John Boyd
                                             Nancy Hollander
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                                       Exhibit H
                                     Attorneys for Defendants Nashat Khalaf and Al-Zuni
                                     Global Jewelry, Inc.

                                     RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                     By     /s/ Matthew M. Beck
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                                     Attorneys for Defendant Zaher Mostafa




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2019, I filed the foregoing pleading electronically
through the CM/ECF system, which caused all parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing.

                                     RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                     By      /s/ Matthew M. Beck
                                             Matthew M. Beck




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